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Defendant’s
Exhibit No. 2
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From:              Saindon, Andy (OAG)
To:                William Claiborne; Heath, Brendan (OAG); Amarillas, Fernando (OAG); Bennett B. Borden
Subject:           RE: Smith v DC - questions from Mr Dudley depo - reated
Date:              Monday, November 16, 2020 2:59:00 PM


Chaz,

Taking your requests in order:

   1. The information you requested remains irrelevant here and overly burdensome to produce.
      Moreover, the “Duncan Ordinance,” 1 DCMR Ch. 1000, prohibits us from providing the
      records you request. Please let us know if you’d like to discuss this.
   2. We are having the Cobalt and CourtView searches re-run with the code cites; they should be
      ready this week.
   3. “Can you please confirm - DC_M SMITH - 023180 - CONFIDENTIAL is a data export from
      CourtView of all the class members who had convictions in CourtView before their arrests on
      weapons charges in the class period.”    Confirmed.

--Andy


From: William Claiborne <claibornelaw@gmail.com>
Sent: Thursday, November 12, 2020 8:59 PM
To: Saindon, Andy (OAG) <andy.saindon@dc.gov>; Heath, Brendan (OAG)
<Brendan.Heath@dc.gov>; Amarillas, Fernando (OAG) <fernando.amarillas@dc.gov>; Bennett B.
Borden <bennett.borden@faegredrinker.com>
Subject: Smith v DC - questions from Mr Dudley depo - reated

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Hi Andy

           This is a restatement of our email dated 11/9/2020 about the issues that came up during

the Dudley depo last Friday.




1.                  In almost the last set of questions I asked Mr. Dudley he conceded that the data
warehouse people could run a bulk search in Wales for criminal histories of class members (that

is, for more than one person at a time). He actually gave us a name. Jimbo Zezekiah (phonetic).


           So, can you speak to these folks and get us a supplemental response of criminal histories
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of class members from WALES




2.                  Mr. Dudley also testified that offenses in Cobalt and CourtView have D.C. Code §§ as
well as text descriptions (e.g., D.C. Code § 22-4503 as well as FIP) can you please give us

supplemental responses with the code sections for both Cobalt and CourtView.


         Also, the CourtView data exports do not have case numbers (e.g., 2012 CD# 001234)



        Can you please supplement the data exports from CourtView with the case numbers. we

will need this if we are gonna have a list of class members we stipulate to have no felony

convictions or other type of convictions we need to know about.

        You said that DC_M SMITH – 023180 has case numbers and that is true. But I do not

think that every class member has data in DC_M SMITH – 023180. We are looking into

whether the other data exports from CourtView have case numbers.




3.                  Can you please confirm - DC_M SMITH - 023180 - CONFIDENTIAL is a data
export from CourtView of all the class members who had convictions in CourtView before their

arrests on weapons charges in the class period. Or give us your definition? Here is how Brendan

defined the contents of DC_M SMITH - 023180 – CONFIDENTIAL:




        This contains a spreadsheet (DC_M SMITH - 23180) from Superior Court
        containing conviction histories [of whom], and includes cases that were disposed
        with a guilty disposition prior to 10/10/2014; all charges are included and guilty
        charges are in red. Please note that this file includes PDID and IDNT_ID
        identifier columns; because sometimes there are slight changes in the identifiers
        (shortened first name, sometimes with middle initial sometimes not, slight
        differences in DOB etc.) there can be rows for a person with the same PDID but
        different IDNT_IDs.

        We just cannot understand what this means. The bracketed text in red [of whom] was
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added by Plaintiffs.




Thanks



Chaz
William Claiborne
Attorney
ClaiborneLaw
717 D Street, N.W.
Suite 300
Washington, DC 20004-2815
202-824-0700
